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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  Western District of Texas


  Community Financial Services Assoc. of Am. et al.            )
                             Plaintiff                         )
                                v.                             )      Case No.     1:18-cv-295
      Consumer Financial Protection Bureau et al.              )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Consumer Financial Protection Bureau and John Michael Mulvaney                                    .


Date:          05/31/2018                                                                /s/ Kevin E. Friedl
                                                                                         Attorney’s signature


                                                                                 Kevin E. Friedl (NY Bar #5240080)
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                        CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following:

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                                      /s/ Kevin E. Friedl
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